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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
v. )
) Criminal Action No. 22-239 (RBW)
PAUL KOVACIK, )
)
Defendant. )
)
ORDER

Upon consideration of the defendant’s Unopposed Motion to Continue Status Hearing
and to Waive Time Under the Speedy Trial Act, ECF No. 14, and for good cause shown, it is
hereby

ORDERED that the defendant’s Unopposed Motion to Continue Status Hearing and to
Waive Time Under the Speedy Trial Act, ECF No. 14, is GRANTED. It is further

ORDERED that the status hearing scheduled for October 28, 2022, is CONTINUED to
December 13, 2022, at 10:00 a.m. The parties shall appear before the Court in Courtroom 16 on
the 6th floor at the E. Barrett Prettyman United States Courthouse, 333 Constitution Avenue,
N.W., Washington, D.C. 20001. It is further

ORDERED that, at the defendant’s request, the time from October 28, 2022, until the

status hearing scheduled for December 13, 2022, is excluded under the Speedy Trial Act.

Lats bb

"REGUIE B. WALTON
United States District Judge

SO ORDERED this 25th day of October, 2022.
